Case 3:10-cr-00012-DHB-BKE Document 84 Filed 02/21/13 Page 1 of 10

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                    IN THE LTNITEDSTATESDISTRICTCOURT                          ,qu;,':7..\
                                                                                        tr;:i

                                 DISTRICTOF GEORGIA:!I]TT3
                   FORTHE SOUTHERN

                                  DUBLIN DIVISION                       .LCHN
                                                                                             OFG,T.
NOELARNOLD,

               Petitioner,

                                               cv 312-063
                                               (Formerly
                                                      CR310-012)
UMTED STATESOF AMERICA,

               Respondent.




         MAGISTRATE JUDGE'S REPORT A}{D RECOMMENDATION


       PetitionerNoel Arnold, an inmate at the FederalCorrectionallnstrtution in Miami,

Florida, has filed with this Court a motion under 28 U.S.C. $ 2255 to vacale,set aside,or

correcthis sentence.This caseis now before the Courl on Respondent'smotion to dismiss

Petitioner's$ 2255 motion. (Doc. no. 4.) Petitioneropposesthe motion to dismiss.(Doc.

no. 5.) For the reasonsset forth below, the Court REPORTS and RECOMMENDS that

the motion to dismiss be GRANTED, that the instant { 2255 motion be DISI}{ISSED

\trithout an evidentiaryhearing,and that this civil action be CLOSED.

       BACKGROUND

       In Octoberof2010, a federalgrandjury indicted Petitioner and two co-defendants

on o11e
      countof armedbankrobbery,in violationof l8 U.S.C.$$ 2113(a)and (d), and one

count of using,canying. a.ndbrandishinga firearm during a crime ofviolence, in violation

of 18U.S.C.$92+(c)(1)(e)(ii).
                           UnitedStates
                                      v. Amotd,CR3t0-012,doc.no. 1(S.D.Ga.
Case 3:10-cr-00012-DHB-BKE Document 84 Filed 02/21/13 Page 2 of 10



                        "CR 3l0-012'). Pursuantto a writtenpleaagteement,
Oct. 14,2010)(hereinafter                                              Petitioner

pleadedguilty to the first count, armed bank robbery. Id., doc. no. 44. Petitioner's plea

agreementincluded a broad appeal and collateral attack waiver provision that stated in

relevantpafi:

       To the maximum extentpermittedby federallarv, the defendalt voluntarily
       and expresslywaivesthe right to appealthe conviction and sentenceand the
       right to collaterallyattackthe conviction and sentencein anypost-conviction
       proceeding,including a 6 2255 proceeding,on any ground,exceptthat: the
       defendantmay file a direct appealofhis sentenceif it exceedsthe statutory
       maximum; and the defendantmay file a direct appealof his sentenceif, by
       variance or upr.varddeparlure,the sentenceis higher than the advisory
       sentencingguidelinerangeas found by the sentencingcoutl . . . .

Id. at2-3. In addition,by signingthe plea agreement,Petitionerattestedthat he had readand

understoodthe plea agreementandthat the plea ageement accuratelysetforth the terms and

conditionsof his agreementwith the government. Id. at 8.

       The HonorableDudley H. Bowen, Jr., United StatesDistrict Judge,held a guiltyplea

hearing on February 1,2011. During that hearing, Petitioner, who was representedby

retained counsel, testified under oath that he was entirely satisfied with his lawyer's

representationand his handling ofthe case,and that he had beenaffordedsufficient time to

discussthe matterandprepareit with his lail'yer. Id., doc. no.63,p.6. In addition,Judge

Borvensummarizedthe terms of the plea agreement,specificallyaddressingthe appealand

collateral attackrvaiver as follows:

       In your plea agreement,you have agreedto plead guilty to Count One which
       is the armed bank robbery charge. You have agreedto pay full restitution,
       that is, to pay all the noneyback. You haveagreedto waive your right to any
       appeal. And that is a [waiver] of giving up anyright to file a HabeasCorpus
       proceedingto attackthe fact ofconviction. However,ifyou for somereason
       are sentencedabovethe guidelinerangeor abovethe sentencingrange,you
Case 3:10-cr-00012-DHB-BKE Document 84 Filed 02/21/13 Page 3 of 10




       would get your right to appealback. But you would not get anyretum of any
       right to file a HabeasCorpusproceedingto challengethe fact ofconviction.

Id. at 10. Petitioner affirmed that he understoodthat explanationof the plea agreement,

including the appealand collateralattackrvaiver. Id. at 1'1.

       Judge Bowen also explained at the plea hearing that the maximum penalty for

Petitioner's cdme was a prison term of not more than 25 years, a fine of not more than

           and a term of supervised
$250,000.00,                      releaseofnot more than five yearsplus a S100.00

specialassessment.ld. at 8. Furthermore,in responseto questionsaskedby JudgeBowen,

Petitioner averredthat no one had threatened,forced, or pressuredhim to plead guilty and

that no one had made him any promise, guarantee,or prophesythat he would receive a

particularsentence.Id.at10-11.Follorning a govemmentwitness'spresentation
                                                                        ofa factual

basisfor the guilty plea, JudgeBowen askedPetitioner if he disagreedrvith any portion of

those facts, at which point Petitioner noted that he disagreedwith the description of the

\r.eaponor weaponsusedin the robbery. Id. at 15. Specihcally,Petitioner assertedthat he

had in fact useda "BB gun" ratherthan an actualhrearm in the robbery, and that he did not

usethe BB gun to make any threatsofviolence againstthe bank tellers rvorking at the bank

the day of the robbery. Id. at 15-19. Follo*'ing his explanationof his disagreement,

Petitionernonethelessstatedthat he was guilty of armedbank robbery and wished to plead

guilty to CountOne of the indictment. 7d.at 19, 21.

       After the guilfl' plea hearing, the United States probation OlAce prepared a

presentenceinvestigationreport ("PSI"), to u'hich Petitionerobjected. Id., doc. no. 64, pp.

13-17. More specifically,Petitionerobjectedto the sentencingenhancements
                                                                       for his
Case 3:10-cr-00012-DHB-BKE Document 84 Filed 02/21/13 Page 4 of 10




leadershiprole in the robbery as well as his use of a fireatm in the robbery. (Id.) During

Petitioner'ssentencinghearing,u'hich rvasheld on July 20, 201I , Petitionersubmittedasan

exhibil the BB gun that he assefiedwas usedin the robbery, and JudgeBowen and counsel

for both sidesextensivelyquestionedhim, aswell asthe two bank tellerswho were working

at the bank on the day ofthe robbery,concemingthat gun and the generalcircumstancesof

the robbery. Id. at 18-49. Petitlonermaintainedthat it was the only weaponusedduring the

robbery and that "nobody really used it," in that it was never pointed at anyoneor fired,

allhoughPetitionerdid have possessionof it at certain instances.LId. at 19,22,26.

Petitioner furlher denieda history of owning guns,althoughMs. Riner reportedotherwise.

Id,. aI 27 .

          Taking into considerationthe argumentsof counsel for both sides as well as the

testimonyof Petitionerand the trvo bank tel1ers,JudgeBo*'en found that two firearmswere

used in the robbery and that, moreover,"it is virtually an inescapableconclusionthat they

were," in fact, firearms. Id. at 54. In other words, they "were not BB guns," but rather

"dev.icesdesignedto expel a projectile throughthe useof an explosiveor gunpowder." Id.

JudgeBowen furlher stated,"lt is my conclusionthat Mr. Amold flat out lied aboutthis air

pisfol," noting additionallythat the BB gun submittedasan exhibit was "a pretty obviousBB

gun and a piece ofjunk," and that the bank tellers' testimony"clearly demonstrate[d]their

understandingof rvhat the),saw." Id. at 55. Accordingly, JudgeBowen addedtwo points



        'Petitionerrobbedthe bank rvith the cooperationand
                                                           assistanceJimmy McBride, his
half-brotherand co-defendantin the underlyng criminal proceeding,whom he allegedalso
controlled the BB gun during the robbery, as well as Brittany Riner, his girlfriend and the
motheroftwo ofhis children. CR 310-012,doc.no. 64, pp. 26-28,52.
Case 3:10-cr-00012-DHB-BKE Document 84 Filed 02/21/13 Page 5 of 10



to Petitioner's offense level computation for obstruction ofjustice basedon lying to the

court,removedthetwo-point enhancementforPetitioner's leadershiprole in therobbery and

declined to grant a three-pointreduction for acceptanceof responsibility, resulting a total

offenselevel of35. Id. at 58; PSI'll1]30-42. Petitionerwas accordinglysentenced
                                                                              to 240

monthsof imprisonment,which is "[n]ot quite to the upperend of the guidelinerange," and

to 5 yearsof supewisedrelease. CR 310-012,doc. no. 64,p. 16; doc. no. 53, pp. 2-3.

Petitioner was also madejointly and severally liable - along with his two co-defendants

for $21,650.00
             in restitution.Id.,doc.no. 64,p.79;doc.no.53,p.5.

        On August 4, 201 I , despitethe terms ofhrs plea agreement,Petitionerfiled a notice

of appeal. Id., doc. no. 57. On March 1,2012, the EleventhCircuit Court of Appeals

granted the Govemment's motion to dismiss the appeal based on the appeal waiver in

Petitioner'splea agreement.Id., doc.no. 66.

       Petitionerthen proceededto file the instant $ 2255 motion, which is datedJuly 6,

2012, andwas receivedand filed by the Clerk of Courl on July 26, 2012. (Doc. no. 1, pp.

1, 13.) Petitionerassertsa singleclaim: that his trial counselprovided ineffectiveassistance

ofcounsel by "failing to specificallyrequestany surveillancevideo ofthe bankrobberyonce

it was notice[d] that it was not [included] in the discoverypacket." [d. at 4.) Respondent

contendsthatPetitioner's$ 2255motionshouldbe dismissedbecause
                                                            his claimis banedby

the collateral attackwaiver set forlh in his plea agreement. (Doc. no. 4, p. 4.) Following

Respondent'smotion to drsmiss,Petitionersubmitteda reply in which he asserlsthat,on the

contrary,his claim in fact challengesthe validity ofhis guilty plea and is thus not barredby
Case 3:10-cr-00012-DHB-BKE Document 84 Filed 02/21/13 Page 6 of 10




the collateral attackwaiver. (See eenerallydoc. no. 5.) The Court resolvesthe matter as

follows.

II.    DISCUSSION

       A.     No Need For Evidentiary Hearing

       Petitionerrequestsan evidentiaryhearingin his $ 2255 motion. (Id. at 13.) With

regardto that request,the EleventhCircuit follorvsthe generalrule "that effectiveassistance

claims wiil not be addressedon direct appeal from a criminal conviction becausean

evidentiaryhearing,availablein a section2255proceeding,is oftenrequiredfordevelopment

of an adequaterecord." Vick v. United States,730 F.2d 707,708 (llth Cir. 1984).

Nonetheless,this generalrule doesnot requirethe Courl to hold an evidentiaryhearingevery

time an ineffective assistance
                             of counselclaim is raised. Id. Statedanotherway, "A hearing

is not required on patently frivolous claims or those rvhich are based upon unsupported

generalizations.Nor is ahearingrequiredwherethepetitioner'sallegationsareaffirmatively

contradicted
           in the record."Holmesv. UnitedStates,876F.2d 1545,1553(1lth Cir. 1989).

Moreover, a petitioner is not entitl€d to an evidentiary hearing n,here he assertsonly

conclusoryallegations.Lvnn v. UnitedSrates,365
                                             F.3d 1225,1238-39(11thCir.2004);see

alsoTejadav. Duseer,94l F.2d 1551,1559(1 lth Cir. 1991)(noting that petitioneris nor

entitled to an evidentiary hearing if his claims "are merely conclusory allegations

unsuppo(edby specificsor contentionsthat in the faceofthe recordarewholly incredible").

       As described
                  in detailbelow,theCourlfu.rdsthatPetitioner's$ 2255claimis barred

from review. Thus, no evidentiaryhearingis necessaryin this case. Accordingly,

Petitioner'sapparentrequestfor anevidentiaryhearingshouldbe denied.
Case 3:10-cr-00012-DHB-BKE Document 84 Filed 02/21/13 Page 7 of 10




        B.      Petitioner's$ 2255Claim Is Barred by the Collateral Attack Waiver in
                I{is Plea Agreement

        It is well settledthat a waiver ofthe right to collaterally attack a sentenceis only

enforceableifthe waiver is knou'ing andvoluntary. United Statesv. Weaver,275F.3d1320,

 1333(11rhCir.2001);UnitedStatesv.       F.2d1343,1345(1lthCir. 1993).':"To
                               Bushert,g9'7

establishthe waiver's validity, the govemmentmust show either that (1) the district court

specificallyquestionedthe defendantaboutthe provision during the plea colloquy, or (2) it

is manifestlyclearfrom the recordthat the delendantfullyunderstoodthe significanceofthe

waiver." Weaver,275 F.3d at 1333. If the govemmentmeetsthis burdenin the instantcase,

then Petitioner'sclaims are barredfrom review. SeeUnited Statesv. Pease, 240 F ,3d 938,

 942 (llth   Cir. 2001) Qter curiam) (enforcing waiver provision where defendant was

specificallyqueslionedduringpleaproceedings
                                          aboutwaiver)iUnitedStatesv. Howle, 166

F.3d 1166,1168-69(11thCir. 1999);UnitedStatesv. Benitez-Zanata,
                                                             131F.3d 1444,1146-

47 (11thCir. 1997).

        Here, Respondenthas met its burden in demonstratingthe existenceof a valid

collateralattackwaiver. The plea agreementsignedandverified by Petitionerfully set forth

that, as a condition of his guilty p1ea,he was u'aiving any right to collateral attack ofhis

sentence
       or the knowingandvoluntarynatue ofhis guiltyplea. SeeCR 310-012,doc.no.

44,pp.2-3 ("To the maximum extentpermittedby federallau.,the Defendant. . . voluntarily

and expressly i.vair,,es
                       the right to appeal the conviction and sentenceand the right to



         2Caselaw concemingrvaiverofa
                                      direct appeallas alsobeenappliedto waiver ofthe
right to collateralproceedings.SeeBushert,997F.2dat 1345;seealsoVaca-Ortizv. United
States,320 F. Supp.2d1362,1365-67(N.D. Ca. 2004).
Case 3:10-cr-00012-DHB-BKE Document 84 Filed 02/21/13 Page 8 of 10




collaterallyattackthe conviction and sentencein any post-convictionproceeding,including

a $ 2255 proceeding. . . ."). JudgeBowen thoroughlywent over Petitioner'splea agreement

and specificallyrevie*'edtheu'aiverprovisionsat thepleacolloquy. Id., doc.no. 63,p. 10.

After.Iudge Bowen concludedhis revierv of the plea agreement,Petitioner acknowledged

that he understoodand agreedwith the terms ofthe plea agreementas explained by Judge

Bowen. ld. at 11.

           The recordbeforethe Court thereforedemonstratesthat the collateralattackwaiver

was knowing and voluntary. While Petitionerwould hat'ethe Court ignore his responses10

.IudgeBowen's questions,"solemn declarationsin opencourt Iat a guilty pleahearing]carry

a strong presumptionof verity" and "constitute a fomridable barrier in any sutrsequent

collateralproceedings."Blackledeev, Allison, 431 U.S. 63,74 (1977\. Thus,the Court

concludesthat tl'recollateralattackwaiver js valid andthat Petitioner'sclaim is baned by the

rvaiver.

           ln making this determination,the Court is arvarethat Petitioner's $ 2255 claim

inrolses an asserlionofineffectiVe assistanceoftrial counsel. "An ineffectiveassistanceof

counselargumentsurvivesa waiver of appealfor collateralattack] only when the claimed

assistancedirectly affectedthe validity of that waiver or the plea itseli" williams v. United

States,396 F.3d 1340,1342n.2(11thCir. 2005)(quotingUnited Statesv. White, 307 F.3tl

s06, s08-09(5th Cir. 2002)).

       Here,despitethe argumentsthat Petitionermakesin his replyto Respondent,smotion

to dismiss(seedoc.no. 5), it is clearthat Petitioner'sassertionofineffectiveassistance
                                                                                     of

counselpellains to the effect ofcounsel's actionson Petitioner'seventualsentencingrather
Case 3:10-cr-00012-DHB-BKE Document 84 Filed 02/21/13 Page 9 of 10




thanto the validity ofPetitioner'sguiltyplea. In his petition,Petitionerasserled
                                                                               ashis sole

ground for relief that his counselwas ineffective in failing to seekthe disclosureof "any

sun,eillancevideo" of the bank robbery. (Doc. no. 1, p. 4.) Petitioner then specifically

explainedthat the effectofthe disclosureofsuch a video would be to nullify the factualbasis

that Judge Borven relied on in enhancingPetitioner's offense level by two points for

obstructionofjustice andin decliningto granta reductionin his offenselevel for acceptance

ofresponsibility. (ld.) Petitioneradditionally submitteda briefaddressingthe samesubject

in greaterdetail;that bdefalso directly linked his claim concerningthe video to his challenge

to the length of his sentenceand did not addressrvhatsoeverthe alleged invalidity of his

guilty plea. (Doc. no. 2, p. 5.)

        In fact, it was not until after Respondenthled its motion to dismiss and asserted

therein that Petitioner's claim was barred by the collateral attack waiver - and, notably,

specihcally informed Petitioner that only claims of attomey ineffectivenessthat "directly

affectedthe validity ofthat waiver or the plea itself' could avoid the bar (doc. no. 4, p. 7)

that Petitioner endeavoredto couch his claim as one that addressedthose issues (see

senerallvdoc. no. 5).3In short,the coufi will not entertainPetitioner'safter{he-fact attempt

to recasthis claim as one that bypasseshis knou'ingly and voluntarily enteredguilty plea

rvhere, as here, the record clearly demonstratesotherwise. Instead,the court finds that

Petitioner's ineffective assistanceof counsel claim "[does] not concem representation



       rThe Court additionallynotesthat
                                          Petitionervoicedhis disagreementwith the factual
basisforhis guiltyplea his assefted   useofaBB gun insteadof a legitimatefiream-atthe
plea hearing,but still admittedhis guilt asto the crime and optedto plead guilty after clearly
affirminghis understanding   ofthe pleaagreement.CR 310-012,doc.no.63, pp. 11-21.
Case 3:10-cr-00012-DHB-BKE Document 84 Filed 02/21/13 Page 10 of 10




 relatingto the validity of theplea or waiver." Williams,396 F.3d at 1342n.2. As a result,

 Petitioner's $ 2255 claim is barredby the collateralaftackwaiver in his plea agreement,and

 Respondent'smotion to dismissthe instant $ 2255 motion shouldbe granted.

 III.   CONCLUSION

        For the reasonsset forth above,the Court REPORTS and RECOMMENDS that

           Motion to Dismissbe GRANTED (doc.no. 4), thattheinstant$ 2255motion
 Respondent's

 be DISN{ISSED \\'ithout an evidentiarvhearins. and that this civil action be CLOSED.

        SOREPORTED
                 andRICOMMENDEDon tn$dltJfuV of February,
                                                        2Qr3,at
 Augusta.Georgia.




                                            l0
